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 IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF
                           PENNSYLVANIA

 IN RE: GABRIEL BRAVO,                                      :       CHAPTER 13
         Debtor
                                                            :      BANKRUPTCY NO. 21-12926


                                      NOTICE OF APPEAL


                GABRIEL BRAVO, the Debtor in the above case (“the Debtor”), hereby appeals

 to the United States District Court for the Eastern District of Pennsylvania, under 28 U.S.C.

 section 158(a)(1), from the Orders entered in this case dated November 22, 2022, which denied

 in significant part, the Debtor’s Motion for Reconsideration of the Court’s Order of October 18,

 2022, which overruled the Debtor’s Objection to the Proof of Claim filed in this case by E-Z

 Cashing, LLC. The names of all parties interested in the Order and the names, addresses, and

 telephone numbers of their respective attorneys are as follows:

 Parties: The Debtor; E-Z Cashing, LLC; Kenneth West; United States Trustee's Office

 Attorney for Debtor: David A. Scholl, Esq., 512 Hoffman St., Philadelphia, PA. 19148, 610-

 550-1765

 Attorney for E-Z Cashing, LLC, Justin L. Krik, Esq., Krik Law, 1500 JFK Blvd., Suite 630,

 Philadelphia, PA. 19103, 267-381-3180

 Kenneth West, Standing Chapter 13 Trustee, 1234 Market St., Suite 1813, Philadelphia, PA.

 19107, 215-627-1377
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 United States Trustee’s Office, 900 Market St., Suite 300, Philadelphia, PA. 19107, 215-597-

 4411

                                                    _______________________
                                                    /s/DAVID A. SCHOLL
                                                    512 Hoffman Street
                                                    Philadelphia, PA. 19148
                                                    610-550-1765
                                                    Attorney for Appellant
